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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,                                    CASE NO. 04-80791
v.                                                           HON. LAWRENCE P. ZATKOFF

JOEL LAIRD and MICHAEL WRIGHT,

            Defendants.
__________________________________/

       ORDER CLARIFYING ROLE OF STAND-BY COUNSEL DURING TRIAL

       As stated on the Record at the October 18, 2005, hearing regarding Defendant Michael

Wright’s (“Defendant”) assertion of self-representation, IT IS HEREBY ORDERED that stand-by

counsel David M. Burgess will fill the following three roles:

       1.      Standby counsel must be prepared to assist the Defendant if requested and to
               call the judge’s attention to matters favorable to the accused upon which the
               judge should rule, although not in the presence of the jury;

       2.      Standby counsel must be prepared, even over the Defendant’s objection, to
               relieve the judge of the need to explain and enforce basic rules of courtroom
               protocol or to assist the defendant in overcoming routine obstacles that stand
               in the way of the defendant’s achievement of his own clearly indicated goals;
               and

       3.      Standby counsel must be prepared to step in and assume responsibility for the
               defense should the inability of the accused become apparent mid-trial.

See Faretta v. California, 422 U.S. 806, 835 (1975); McKaskle v. Wiggins, 465 U.S. 168, 173-78

(1984); ABA STANDARDS FOR CRIMINAL JUSTICE 2D Standard 6-3.7 (1986).

       IT IS SO ORDERED.


                                              s/Lawrence P. Zatkoff
                                              LAWRENCE P. ZATKOFF
                                              UNITED STATES DISTRICT JUDGE

Dated: November 4, 2005
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                                 CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of this Order was served upon the attorneys of
record by electronic or U.S. mail on November 4, 2005.


                                            s/Marie E. Verlinde
                                            Case Manager
                                            (810) 984-3290




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